        Case 3:03-cr-00140-RV    Document 407      Filed 06/01/05   Page 1 of 1

                                                                              Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No: 3:03cr140/RV
                                                   3:05cv146/RV/MD
MITCHELL JACKSON SEALE, III
_____________________________________________________________________
                                      ORDER
        This cause comes on for consideration upon the magistrate judge's report and
recommendation dated April 26, 2005. The defendant previously has been furnished
a copy of the report and recommendation and has been afforded an opportunity to
file objections pursuant to Title 28, United States Code, Section 636(b)(1), and I have
made a de novo determination of those portions to which an objection has been
made.
        Having considered the report and recommendation and all objections thereto
timely filed by the parties, I have determined that the report and recommendation
should be adopted.
        Accordingly, it is now ORDERED as follows:
        1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
        2.    The motion to vacate, set aside, or correct sentence (doc. 403) is
summarily DISMISSED without prejudice due to the pendency of defendant’s direct
appeal.
        DONE AND ORDERED this 1st day of June, 2005.


                                        /s/ Roger Vinson
                                        ROGER VINSON
                                        SENIOR UNITED STATES DISTRICT JUDGE
